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                                UNITED ST ATES DISTRICT COURT
                                     DISTRICT OF OREGON
                                     PORTLAND DIVISION


     UNITED STATES OF AMERICA,                                      Case No.3 '.   JY-Lr -o.?~J - kt
                   v.                                                                   INDICTMENT

     TUNG WING HO, KYLE KEOKI                                           18 U.S.C. §§ 371, 981(a), 1343,
     YAMAGUCHI, and JASON MICHAEL                                   2314, 2315, and 28 U.S.C. § 2461(c)
     KEATING,
                    Defend ants.                                                   Forfeiture Allegation



                                    THE GRAND JURY CHARGES:

                                            INTRODUCTION

            At all times relevant to this Indictment:

            1.     Defendant TUNG WING HO was an employee at the worldwide headquarters of

     Nike, Inc., in Beaverton, Oregon. Nike is the world's leading producer of athletic footwear and

     apparel.

            2.     From approximately January 2012 to March 2014, TUNG WING HO was a

     promotional product manager for Nike's basketball division. As a promotional product manager,

     HO was responsible for generating interest in Nike products by providing unique styles of Nike

     basketball shoes to famous athletes and other celebrities-as well as members of their

     entourages-to wear while in the public eye. HO was authorized to obtain these promotional

     shoes by ordering them directly from Nike's manufacturing facilities in China. HO also used this

     process to order extra, unauthorized, pairs of the promotional shoes for himself. When the extra
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shoes arrived at Nike's headquarters, HO would steal them and take them to his home in

Portland, Oregon.

        3.      Defendant KYLE KEOKI YAMAGUCHI worked at Nike, Inc., until January

2012. YAMAGUCHI was HO's predecessor as a promotional product manager in Nike's

basketball division and had worked in that capacity since joining Nike in July 2006. During his

tenure, YAMAGUCHI took hundreds of pairs of Nike sneakers for his personal collection.

Many of these sneakers were factory samples that were freely available to Nike employees for

personal use; others he ordered for himself from Nike's manufacturing facilities in China. When

HO succeeded YAMAGUCHI as the promotional product manager, YAMAGUCHI advised

HO that he could conceal the scope of promotional shoe orders by billing them to different "cost

centers" in Nike's system.

        4.      Defendant KYLE KEOKI YAMAGUCHI left Nike to launch Look/See, a firm

in Portland, Oregon, that designs and sells sunglasses inspired by iconic sneaker designs. To

promote Look/See, YAMAGUCHI displayed the firm's eyewear at sneaker-collector

conventions next to rare sneakers that he had acquired while working for Nike.

        5.       Defendant JASON MICHAEL KEATING resides in Ft. Myers, Florida. He

uses personal contacts and social media (under the pseudonym "Artaphax") to sell rare sneakers

to private collectors. Such collectors frequently pay thousands of dollars for a single pair of rare

Nike basketball shoes.

                                          COUNT ONE
             (Conspiracy to Transport, Receive, and Sell Stolen Goods, 18 U.S.C. § 371)

        6.       The factual allegations contained in Paragraphs I through 5 of this Indictment are

re-alleged and incorporated herein.



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        7.       Starting not later than August 2012 and continuing through approximately March

2014, within the District of Oregon and elsewhere, defendants TUNG WING HO, KYLE

KEOKI YAMAGUCHI, and JASON MICHAEL KEATING with each other and with others,

both known and unknown to the grand jury, unlawfully and knowingly agreed, combined, and

conspired to transport, receive, possess, and sell stolen goods that have traveled in interstate or

foreign commerce, to wit, basketball shoes stolen from Nike, Inc., in violation of Title 18, United

States Code, Sections 2314 and 2315.

                                        MANNER AND MEANS

       8.        Defendants TUNG WING HO and KYLE KEOKI YAMAGUCHI agreed in

July 2012 to work together to sell rare Nike sneakers that HO had acquired and would acquire

through his position as promotional product manager at Nike, Inc. They agreed that

YAMAGUCHI would take a twenty-percent commission on the sale of any shoes that HO sold

through YAMAGUCHI.

        9.       In August 2012, defendant JASON MICHAEL KEATING contacted defendant

KYLE KEOKI YAMAGUCHI to solicit the sale of "unreleased & rare pairs" of Nike sneakers.

YAMAGUCHI first agreed to sell KEATING sneakers from his own collection and then

negotiated sales of larger lots of shoes that he acquired from TUNG WING HO.

YAMAGUCHI led KEATING to believe that the shoes from HO had been stolen or otherwise

purloined directly from the Chinese factory by a confederate in China.

        10.      After JASON MICHAEL KEA TING paid for the shoes, KYLE KEO KI

YAMAGUCHI would cause them to be transported from his residence in Portland, Oregon, to

KEATING in Florida.




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        11.     From September 2012 to March 2014, JASON MICHAEL KEATING paid

KYLE KEOKI YAMA GUCHI approximately $679,650 for more than 630 pairs of shoes that

YAMAGUCHI and TUNG WING HO had stolen from Nike, Inc.


                    OVERT ACT IN FURTHERANCE OF THE CONSPIRACY

        12.     To accomplish the objectives of the conspiracy and in furtherance thereof,

defendants, in the District of Oregon and elsewhere, perpetrated, among other acts, the

following:

        13.      On or about April 25, 2013, in consideration of a cash payment of$62,000,

defendant KYLE KEOKI YAMA GU CHI caused to be shipped from Portland, Oregon, to

defendant JASON MICHAEL KEATING at an address in the State of Florida approximately

42 pairs of shoes that defendant TUNG WING HO had stolen from Nike, Inc.

        All in violation of Title 18, United States Code, Section 371.

                                   COUNTS TWO AND THREE
                                (Wire Fraud, 18 U.S.C. § 1343 - HO)

        1.       The allegations set forth in Paragraphs 1 through 13 of Count One of this

Indictment are re-alleged and incorporated by reference as if fully set forth in each count herein.

        2.       From not later than May 2012 and continuing to March 2014, defendant TUNG

WING HO devised and intended to devise a material scheme to defraud Nike, Inc., and to obtain

money and property by means of materially false and fraudulent pretenses and representations, in

that HO placed orders with Nike's manufacturing facilities in China for s!mple and promotional

sneakers while falsely purporting to act on behalf of and with the authority of Nike, Inc., while in

truth and in fact, HO then and there intended to convert those sneakers to his own personal and

unauthorized use.


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        3.         On or about each of the dates set forth below, in the State and District of Oregon,

defendant TUNG WING HO, for the purpose of executing the material scheme described

above, caused to be transmitted by means of wire communication in interstate and foreign

commerce the signals and sounds described below for each count, each transmission constituting

a separate count of this Indictment:

             Count      Date                 Shoes Ordered                       Wire
                                                                            Communication
               2      May 14,     15 pairs of "LEBRON 9" basketball            Internet
                       2012                      shoes                       Transmission
               3      May 27,     31 pairs of "LEBRON 9" basketball             Internet
                       2012                      shoes                       Transmission

        All in violation of Title 18, United States Code, Section 1343.

                                      COUNT FOUR
      (Interstate Transportation of Stolen Goods, 18 U.S.C. § 2314 - YAMAGUCHI)

        1.         The allegations set forth in Paragraphs 1 through 13 of Count One of this

Indictment are re-alleged and incorporated by reference as if fully set forth in each count herein.

        2.         On or about the 27th day of February 2014, in the District of Oregon, the

defendant, KYLE KEOKI YAMAGUCHI, did transport and cause to be transported in

interstate commerce from the State of Oregon to the State of Florida goods and merchandise

worth more than $5,000, knowing the same to have been stolen, converted, or taken by fraud, in

violation of Title 18, United States Code, Section 2314.

                                           COUNT FIVE
                      (Receipt of Stolen Goods, 18 U.S.C. § 2315- KEATING)

        1.         The allegations set forth in Paragraphs 1 through 13 of Count One of this

Indictment are re-alleged and incorporated by reference as if fully set forth in each count herein.

        2.         On or about the 3rd day of March 2014, in the District of Florida, the defendant,

JASON MICHAEL KEATING, did receive and possess goods and merchandise worth more

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than $5,000 that had crossed the boundaries of the States of Oregon and Florida after being

stolen, unlawfully converted, or taken, knowing the same to have been stolen, unlawfully

converted, or taken, in violation of Title 18, United States Code, Section 2315.

                                    FORFEITURE ALLEGATION

        1.      Upon conviction of Count One of this Indictment, defendants TUNG WING HO,

KYLE KEOKI YAMAGUCHI, and JASON MICHAEL KEATING shall forfeit to the

United States, pursuant to 18 U.S.C. § 98l(a)(l)(C) and 28 U.S.C. § 2461(c), any property

constituting or derived from proceeds obtained directly or indirectly as a result of the said

violation, including but not limited to a sum of money equal to $679,650.00 in United States

currency, representing the proceeds obtained as a result of the interstate transportation and sale

of stolen merchandise, in the form of a money judgment.

        If any of the above-described forfeitable property, as a result of any act or omission of the

defendants TUNG WING HO, KYLE KEOKI YAMAGUCHI, or JASON MICHAEL

KEATING:

        (a) cannot be located upon the exercise of due diligence;

        (b) has been transferred or sold to, or deposited with, a third party;

        (c) has been placed beyond the jurisdiction of the court;

        (d) has been substantially diminished in value; or

        (e) has been commingled with other property which cannot be divided without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p) as incorporated by

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18 U.S.C.§ 982(b), to seek forfeiture of any other property of defendants TUNG WING HO,

KYLE KEOKI YAMAGUCHI, and JASON MICHAEL KEATING up to the value of the

forfeitable property described above.

       DATED this --3_ day of July 2014.

                                            A TRUE BILL.




Presented By:

S. AMANDA MARSHALL, OSB #95347
United States
District of 0




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